     Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 1 of 25




                                No. 21-56056

           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT

                             JAMES HUNTSMAN,
                                                 Plaintiff-Appellant,

                                      v.

          CORPORATION OF THE PRESIDENT OF THE CHURCH OF
               JESUS CHRIST OF LATTER-DAY SAINTS,
                                                 Defendant-Appellee.

               On Appeal from a Final Judgment of the
   United States District Court for the Central District of California
           Case No. 2:21-cv-2504, Hon. Stephen V. Wilson

                APPELLANT’S RESPONSE IN OPPOSITION
                TO REHEARING OR REHEARING EN BANC



DAVID B. JONELIS                           BRADLEY GIRARD
Lavely & Singer, P.C.                      JENNY SAMUELS
2049 Century Park East,                    Americans United for Separation
 Ste. 2400                                  of Church and State
Los Angeles, CA 90067                      1310 L St. NW, Ste. 200
(310) 556-3501                             Washington, DC 20005
djonelis@lavelysinger.com                  (202) 466-3234
                                           girard@au.org




                           Counsel for Appellant
           Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 2 of 25




                                      TABLE OF CONTENTS


Table of Authorities ......................................................................................... ii
Introduction ...................................................................................................... 1
Statement.......................................................................................................... 3
I.     Factual Background ................................................................................. 3
II.    Procedural Background ............................................................................ 5
Argument .......................................................................................................... 9
I.     The panel decision is consistent with controlling precedent on
       the ecclesiastical-abstention doctrine. .................................................... 9
II.    The panel did not decide questions of exceptional importance. .......... 15
Conclusion ....................................................................................................... 18
Certificate of Service ..........................................................................................
Certificate of Compliance ...................................................................................




                                                         i
          Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 3 of 25




                                 TABLE OF AUTHORITIES


Cases                                                                                           Page(s)

Bollard v. Cal. Province of the Soc’y of Jesus,
  196 F.3d 940 (9th Cir. 1999) ..................................................................... 10
Friedman v. Medjet Assistance, LLC,
   No. 09-cv-7585, 2010 WL 11462853 (C.D. Cal. Nov. 1, 2010) ................. 11
Gen. Council on Fin. & Admin. of the United Methodist Church
  v. Superior Ct.,
  439 U.S. 1355 (1978) ................................................................................. 16
Hoffman v. 162 N. Wolfe LLC,
  228 Cal.App.4th 1178 (Cal. Ct. App. 2014) ........................................12, 13
Hosanna-Tabor Evangelical Lutheran Church & Sch. v. EEOC,
  565 U.S. 171 (2012) ................................................................................... 15
Kwikset Corp. v. Superior Ct.,
  246 P.3d 877 (Cal. 2011) ........................................................................... 13
Libhart v. Copeland,
   949 S.W.2d 783 (Tex. App. 1997) .............................................................. 14
Maffei v. Roman Cath. Archbishop of Bos.,
  867 N.E.2d 300 (Mass. 2007) .................................................................... 14
Maktab Tarighe Oveyssi Shah Maghsoudi, Inc. v. Kianfar,
  179 F.3d 1244 (9th Cir. 1999) ................................................................... 10
Our Lady of Guadalupe Sch. v. Morrissey-Berru,
  140 S.Ct. 2049 (2020) ................................................................................ 15
Presbyterian Church in U.S. v. Mary Elizabeth Blue Hull
  Mem’l Presbyterian Church,
  393 U.S. 440 (1969) ................................................................................... 10
Puri v. Khalsa,
  844 F.3d 1152 (9th Cir. 2017) ................................................................... 10
Schmidt v. Cath. Diocese of Biloxi,
  18 So.3d 814 (Miss. 2009).......................................................................... 14



                                                    ii
          Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 4 of 25




                       TABLE OF AUTHORITIES—continued

Serbian E. Orthodox Diocese v. Milivojevich,
  426 U.S. 696 (1976) ................................................................................... 14
United States v. Annamalai,
  939 F.3d 1216 (11th Cir. 2019) ................................................................. 14
United States v. Cooley,
  947 F.3d 1215 (9th Cir. 2020) ................................................................... 15
United States v. Rasheed,
  663 F.2d 843 (9th Cir. 1981) ...............................................................14, 15
United States v. Wylie,
  625 F.2d 1371 (9th Cir. 1980) ..................................................................... 9

Rules & Other Authorities

Fed. R. App. P. 35(a) ........................................................................................ 9
Restatement (Second) of Torts § 527 (1977) ................................................. 11
PTL Fund Raising a Tangled Saga, Wash. Post (May 23,
  1987), https://tinyurl.com/bdzk3paa ......................................................... 17




                                                      iii
       Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 5 of 25




                              INTRODUCTION

   James Huntsman has consistently maintained that his claim against the

Church of Jesus Christ of Latter-Day Saints is about fraud, not faith. And

every judge to consider this case—the district court, the panel majority, and

the dissent—has agreed that this case presents a secular dispute that does

not require interpretation of Church doctrine.

   The facts are simple: Huntsman would never have given millions of

dollars to the Church had the Church honestly disclosed that the money

would fund purely for-profit businesses like the $1.4 billion City Creek Mall.

Rather, Huntsman gave money because the Church made repeated, explicit,

public misrepresentations that “not one penny of tithing” went to City

Creek. The Church assured its congregants that the mall was being

developed by “the Church’s real-estate development arm, and its money

comes from other real-estate ventures.” Huntsman heard and relied on

these repeated assurances. But when an employee of the Church’s

investment arm filed an IRS whistleblower complaint, Huntsman

discovered that the Church had indeed financed City Creek with tithing

funds and concealed that fact from its members.

   Huntsman privately sought to resolve the issue with the Church. When

the Church rebuffed him, he sued for fraud. The panel held that a

reasonable jury could conclude that the Church deliberately misled

Huntsman and that he reasonably relied on the repeated statements that

his money would not be used for City Creek. And because there was no need

                                        1
       Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 6 of 25




to resolve any questions of Church doctrine, the First Amendment did not

bar Huntsman’s suit. That narrow, unremarkable conclusion aligns with

the longstanding rule that a religious institution’s right to control religious

doctrine does not allow it to defraud its members.

   The Church now demands the extraordinary procedure of rehearing to

challenge that fact-specific conclusion. But the Church does not identify any

conflict with ecclesiastical-abstention precedent—instead it stretches

quotations from ministerial-exception cases to concoct a split. And the

Church argues that this case is exceptionally important by spinning it as

something that it is not: a case about who gets to decide how a church spends

its money and who gets to define religious terms.

   Those questions are not relevant in this case. The First Amendment

guarantees that the Church generally can spend its money how it wants.

And the First Amendment gives the Church the unfettered right to define

religious terms. What the First Amendment does not do, however, is give

carte blanche to the Church to induce its members to donate by explicitly

promising one thing and then secretly doing the opposite. That is the extent

of the panel’s holding. The decision was correct. And this Court should not

waste its time and resources to revisit it.




                                        2
       Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 7 of 25




                                STATEMENT
I. Factual Background
   James Huntsman made annual tithing payments to the Church from

1993 until 2015. 3-ER-335. In contributing what ultimately added up to

millions of dollars, Huntsman relied on the Church’s representations that

tithing would be used only for noncommercial purposes; he would not have

tithed had he known that the money would go to for-profit enterprises. 2-

ER-44-45.

   In 2003, the Church announced a project to redevelop the City Creek

Mall in Salt Lake City. 3-ER-314-15. On five occasions, the Church publicly

stated that tithing funds would not be used to finance the project.

   First, in April 2003, Church President Gordon B. Hinckley stated:

     I wish to give the entire Church the assurance that tithing funds
     have not and will not be used to acquire this property. Nor will
     they be used in developing it for commercial purposes.

     Funds for this have come and will come from those commercial
     entities owned by the Church. These resources, together with
     the earnings of invested reserve funds, will accommodate this
     program.
2-ER-250.

   Second, on October 8, 2003, at a press conference about City Creek,

Presiding Bishop H. David Burton stated that “[n]one of this money comes

from the tithing of our faithful members. That is not how we use tithing

funds.” 3-ER-369.




                                        3
       Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 8 of 25




   Third, in December 2006, the Church’s official magazine promised that

“[n]o tithing funds will be used in the redevelopment” of the City Creek

Mall. 3-ER-373.

   Fourth, a March 2007 article published in the Church-owned

newspaper, Deseret News, stated: “Money for the project is not coming from

LDS Church members’ tithing donations.” 3-ER-523. Indeed, the article

went further and defined the nontithing funds that would be used: “City

Creek Center is being developed by Property Reserve Inc., the Church’s

real-estate development arm, and its money comes from other real-estate

ventures.” 3-ER-523.

   Fifth, in 2012, Keith B. McMullin (the head of a Church-affiliated

commercial entity) told The Salt Lake Tribune that “not one penny of tithing

goes to the church’s for-profit endeavors,” specifying that “no tithing went

toward City Creek Center.” 3-ER-378.

   Huntsman was aware of all five of these statements, and he relied on

them in continuing to make tithing payments. 2-ER-44.

   Despite its repeated assurances, the Church was in fact using tithing

money to fund the City Creek Mall. This information was made public by

David Nielsen, who worked for the Church’s investment arm, Ensign Peak

Advisors, from 2010 until 2019. 2-ER-80. According to Nielsen, Ensign

Peak’s senior leadership and other employees referred to all of Ensign

Peak’s funds “as ‘tithing’ money, regardless of whether they were referring

to principal or earnings on that principal.” 2-ER-80. And, during Nielsen’s


                                        4
       Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 9 of 25




time at the company, “tithing donations from the Church’s members were

commingled with” Ensign Peak’s other earnings. 2-ER-80.

   Over a     five-year period, the         Church committee        tasked    with

administering Ensign Peak’s funds approved Ensign Peak’s withdrawal of

approximately $1.4 billion in tithing funds to pay for City Creek. 2-ER-80-

81, 2-ER-85. When Nielsen confronted Ensign Peak’s President, Roger

Clarke, about the inconsistency between the Church’s public statements

and how it was actually using tithing funds, Clarke explained that Ensign

Peak funneled the money for City Creek through two other Church-

affiliated entities to hide the source of the funding from the public. 2-ER-81.

Clarke also stated that it was important that people should not know

Ensign Peak’s role as the source of the funds. 2-ER-82.

   Huntsman learned of Nielsen’s whistleblower complaint in 2019 and

realized that the Church had deceived him about where his donations had

gone. 2-ER-45. He sought to resolve the issue privately with the Church, but

the Church refused. 2-ER-51-78. So Huntsman sued for fraud. 2-ER-252-64.

II. Procedural Background
   Just three months after Huntsman filed his complaint, the district court

allowed the Church to forgo the typical discovery process and file an

expedited summary-judgment motion. 2-ER-29-30. The briefing schedule

did not allow for any discovery, except that, at the Church’s request, the

court ordered Huntsman to sit for an expedited deposition. 2-ER-26-29. The




                                        5
      Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 10 of 25




court gave the Church six weeks to file its motion but gave Huntsman just

one week to respond. 2-ER-30.

   The district court granted summary judgment in favor of the Church. 1-

ER-2. But in doing so, the court rejected the Church’s argument that

Huntsman’s fraud claim was barred by the First Amendment under the

church-autonomy doctrine (also referred to as “ecclesiastical abstention”). 1-

ER-6. As the court explained, the central question of the case—whether the

Church spent tithing funds on the City Creek Mall project—is a “purely

secular” one, the resolution of which involves “no analysis of church policy

or doctrines.” 1-ER-6.

   Turning to the merits, the district court ruled that Huntsman could not

prevail on his fraud claim because he could not prove any material

misstatement. 2-ER-7. In the court’s view, when Hinckley said in 2003 that

“tithing funds have not and will not be used to” finance the City Creek

project, it was not a misrepresentation because Hinckley also stated that

“the earnings of invested reserve funds” would be used. 2-ER-7-8. And

according to the district court, the phrase “earnings of invested reserve

funds” apparently meant “earnings of invested tithing funds” because of two

statements that Hinckley made in the 1990s. 2-ER-8. In 1991, Hinckley

announced that a “fixed percentage” of the Church’s “income” would be “set

aside to build reserves” for a “rainy day.” 2-ER-237. And in 1995, Hinckley

announced that “each year we put into the reserves of the Church a portion

of our annual budget” so that, “[s]hould there come a time of economic


                                       6
      Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 11 of 25




distress, we . . . have the means to weather the storm.” 2-ER-246. Neither

of the statements defined “reserve funds” or “tithing funds.” Yet according

to the court, the 1991 and 1995 statements clarified Hinckley’s 2003

promise (even though Hinckley did not reference either statement in his

2003 speech and there is no evidence that Huntsman was aware of the 1991

and 1995 statements in 2003).

   A panel of this Court reversed as to the City Creek claim.1 Op.29. At the

outset, the panel agreed with the district court and rejected the Church’s

argument that Huntsman’s claim is barred by the ecclesiastical-abstention

doctrine. The panel explained that the questions presented are secular ones:

“whether the Church’s statements about how it would use tithing funds

were true, and whether Huntsman reasonably relied on those statements

when he made tithing contributions.” Op.11-12. And those questions could

be answered “based on secular evidence and analysis,” including, for

example, by looking at “public statements and relevant financial records of

the Church to determine what church officials said about how the City

Creek Mall project would be financed and to determine what funds were

actually used to finance the project.” Op.12.

   The panel disagreed with the district court on the merits of Huntsman’s

claim, finding that a reasonable juror could “conclude that the Church


  1
    The panel upheld the district court’s dismissal of Huntsman’s claim
regarding the Church’s use of tithing funds to bail out a private insurance
company. Op.29.

                                       7
      Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 12 of 25




fraudulently misrepresented that neither tithing principal nor earnings on

tithing principal would be or were being used to develop the City Creek Mall

project.” Op.27.

   The panel relied on four pieces of evidence. First, church leaders and

church publications made “four unqualified statements” that no tithing

funds would be used to finance City Creek. Op.19. Second, Ensign Peak’s

leadership and employees referred to all funds—whether principal or

earnings on that principal—as tithing money, “indicating that the term

‘tithing funds,’ in common usage within the Church, refers both to tithing

principal and to earnings on tithing principal.” Op.26. Third, Clarke told

Nielsen that Ensign Peak purposefully concealed the source of funds for

City Creek. Op.26-27. And fourth, Hinckley stated in 2003 that “tithing

funds” had not and would not be used to finance City Creek. Op.20.

   The panel recognized that Hinckley’s statement—unlike the other

four—arguably was qualified because he said that “earnings of invested

reserve funds” would be used. Op.20. But the panel explained that Hinckley

did not define “reserve funds” in 2003, Op.20, nor did he define “reserve

funds” in 1991 or 1995, Op.24-25. And even if the 1991 and 1995 statements

had defined the term, that would not negate the effect of Hinckley’s 2003

statement, which, apart from making “no reference” to the earlier

statements, said in “plain English” that no tithing funds would be used to

finance the project. Op.25-26.




                                       8
      Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 13 of 25




   The panel also explained that the reliance element of Huntsman’s fraud

claim hinged on a dispute between Huntsman and the Church about what

Huntsman knew about the meaning of “reserve funds.” Op.28. The panel

agreed with the district court that this type of credibility determination was

not resolvable on summary judgment. Op.28.

   Judge Korman dissented. He agreed with the Church that Hinckley’s

1991 and 1995 statements clarified Hinckley’s 2003 statement, as well as

the other four statements on which Huntsman relied. Op.35, 38. Thus,

according to Judge Korman, no reasonable juror could find that the Church

fraudulently misrepresented its use of tithing funds. Op.41. But Judge

Korman did not disagree with the panel’s First Amendment holding.

                                ARGUMENT

   Rehearing en banc is “disfavored,” United States v. Wylie, 625 F.2d 1371,

1378 n.10 (9th Cir. 1980), and should be granted only when “necessary to

secure or maintain uniformity of the court’s decisions” or when “the

proceeding involves a question of exceptional importance.” Fed. R. App. P.

35(a). Neither condition is present here.

I. The panel decision is consistent with controlling precedent on
   the ecclesiastical-abstention doctrine.

   The panel explained—agreeing with the district court and dissent—that

Huntsman’s fraud claim can be resolved without deciding religious doctrinal

questions. Op.11. That conclusion was correct. And the Church fails to




                                       9
       Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 14 of 25




highlight any splits in authority that would make this case worthy of

rehearing.

   1. The ecclesiastical-abstention doctrine forbids courts “to evaluate

religious doctrine or the ‘reasonableness’ of the religious practices followed.”

Bollard v. Cal. Province of the Soc’y of Jesus, 196 F.3d 940, 946, 950 (9th

Cir. 1999). But the prohibition on resolving “controversies over religious

doctrine and practice” does not “completely bar[] judicial inquiry.” Puri v.

Khalsa, 844 F.3d 1152, 1163-64 (9th Cir. 2017) (quoting Presbyterian

Church in U.S. v. Mary Elizabeth Blue Hull Mem’l Presbyterian Church,

393 U.S. 440, 449 (1969)). Instead, the ecclesiastical-abstention doctrine

requires “only that courts decide disputes involving religious organizations

‘without resolving underlying controversies over religious doctrine.’” Id. at

1164 (quoting Maktab Tarighe Oveyssi Shah Maghsoudi, Inc. v. Kianfar,

179 F.3d 1244, 1248 (9th Cir. 1999)).

   a. The Church argues that the “dispositive question” here is

ecclesiastical because Huntsman challenges the Church’s religious

definition of “tithing.” Pet.12. That is flatly wrong. Huntsman has never

argued, and the panel did not hold, that the Church incorrectly defined

tithing. And the question is not who gets to define tithing as a religious

matter.2



   2 So cases in which courts rejected challenges to scriptural interpretation

or general church expenditures are beside the point. See J. Reuben Clark
Law Br.8; Becket Br.6-13.

                                        10
      Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 15 of 25




   The question is whether the Church materially misrepresented the

source of funding for City Creek. It did. The Church has explained that the

term tithing refers only to principal funds, not interest earned investing

those funds. Pet.13. But Neilsen’s declaration shows that Ensign Peak

comingled principal and earnings. 2-ER-80. Church officials internally

referred to the mixed funds as “tithing” money, used those funds for City

Creek, and then purposefully tried to conceal the allocation of those mixed

funds (a fact the Church does not dispute). 2-ER-80-82. That alone is

sufficient to survive summary judgment.

   Even if, counterfactually, the Church used only interest on tithing funds

to bankroll City Creek, a reasonable juror could still conclude that the

Church’s repeated statements were intended to, and did, mislead

Huntsman into thinking that neither principal nor interest would be used.

An ambiguous statement can be the basis for a fraud claim if the speaker

intended to mislead the listener. See, e.g., Friedman v. Medjet Assistance,

LLC, No. 09-cv-7585, 2010 WL 11462853, at *14 (C.D. Cal. Nov. 1, 2010)

(collecting cases). So, as here, the Church’s use of the term tithing would be

a misrepresentation if it was used “with the intention that it be understood

in the sense in which it is false,” no matter how it is correctly defined.

Restatement (Second) of Torts § 527 (1977).

   Huntsman provided sufficient evidence that the Church used the term

tithing “with the intention that it be understood” to include both principal

and interest. Id. For one, the Church stated four times, without


                                       11
      Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 16 of 25




qualification, that tithing funds would not be used for City Creek. On one of

those occasions, the Church explained that the funds specifically came from

the Church’s “other real-estate ventures.” 3-ER-523. And Ensign Peak’s

comingling of the funds and concealment are probative to whether the

Church honestly meant to convey that tithing meant principals (and not

earnings) in statements about City Creek.

   As for Hinckley’s 2003 statement—the only statement that mentions the

use of “reserve funds”—it said nothing about the meaning of that term,

much less the distinction between principal and interest. And the Church

relies on two statements—made in 1991 and 1995—to argue that the

mention of “reserve funds” would have indicated to a listener in 2003 that

the interest generated from tithing funds would be used. The Church insists

that Huntsman should have been aware of those statements and their

meaning, and thus there was no misstatement. But that is a credibility

argument—it has nothing to do with the correct meaning of Church

doctrine.

   b. The Church also argues that a factfinder cannot—as a matter of law—

evaluate whether Huntsman’s reliance was justified without getting

entangled in religious controversies. Pet.16-17. To show justifiable reliance,

Huntsman would have to show that (1) the misrepresented matter was

material, and (2) it was reasonable for him to have relied on the

misrepresentation. Hoffman v. 162 N. Wolfe LLC, 228 Cal.App.4th 1178,




                                       12
      Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 17 of 25




1194 (Cal. Ct. App. 2014). The Church contends that both showings would

necessarily violate the First Amendment. The Church is doubly wrong.

   First, the Church argues—without a single supporting authority—that

Huntsman cannot show materiality without violating the First Amendment

because it would require determining who is a “reasonable” Church

member. Pet.16. But the Church’s argument would foreclose every fraud

claim against a church. That cannot be right. And in fact it is wrong:

Materiality can be satisfied by a showing that the maker of the

misrepresentation knows that the listener is likely to regard the matter as

important in determining his choice of action. See Kwikset Corp. v. Superior

Ct., 246 P.3d 877, 892 (Cal. 2011). Huntsman has submitted enough

evidence—including Ensign Peak’s deliberate concealment of funds—to

make that showing at summary judgment without wading into doctrinal

waters.

   Likewise, the Church argues that Huntsman cannot show subjective

reliance because a jury would be required to hear that Huntsman’s belief in

a religious duty to donate was among his considerations in tithing. Pet.16-

17. The Church ignores that both the district court and the panel correctly

concluded that this element is a credibility determination, inappropriate for

summary judgment. 1-ER-12 n.5; Op.28. But worse, the Church argues that

the possibility of a religious justification for Huntsman’s actions somehow

violates the Church’s First Amendment rights. Pet.16-17. The Church cites

no authority for that sweeping proposition. And we are aware of none.


                                       13
       Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 18 of 25




   In all, the questions in this case are whether the Church’s statements

were intended to mislead Huntsman, and “whether Huntsman reasonably

relied on those statements when he made tithing contributions.” Op.11-12.

To answer those questions, a jury would not be “required to rely on or

interpret the Church’s religious teachings to determine if it misrepresented

how it was using tithing funds.” Op.11. Nor would a jury need to “examine

Huntsman’s religious beliefs about the appropriate use of church money.”

Op.11. There is no ecclesiastical-abstention issue in the case.

   2. The Church does not even attempt to identify any circuit or Supreme

Court precedent that conflicts with the panel’s commonsense, fact-bound

conclusion. The Church cites a handful of ecclesiastical-abstention cases in

passing but fails to show how the panel decision contradicts any of them.

See Pet.11-12. Quite the opposite: The Church’s cases highlight that fraud

claims should not fail under ecclesiastical abstention. See, e.g., Pet.15 (citing

Serbian E. Orthodox Diocese v. Milivojevich, 426 U.S. 696, 712 (1976)). And

the weight of authority agrees.3

   3 See, e.g., United States v. Annamalai, 939 F.3d 1216, 1224-25 (11th Cir.

2019) (First Amendment did not bar charges against priest who perpetrated
fraud on religious adherents); Schmidt v. Cath. Diocese of Biloxi, 18 So.3d
814, 831-32 (Miss. 2009) (First Amendment did not bar claims that church
fraudulently misrepresented use of donations to solicit contributions);
Maffei v. Roman Cath. Archbishop of Bos., 867 N.E.2d 300, 315-16 (Mass.
2007) (evaluating claims that Archbishop and clergy members
misrepresented certain facts in soliciting gifts); Libhart v. Copeland, 949
S.W.2d 783, 794 (Tex. App. 1997) (First Amendment did not bar fraud
claims against a pastor accused of misappropriating church property to buy
a new home for himself); United States v. Rasheed, 663 F.2d 843, 847-49

                                        14
        Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 19 of 25




   Instead, the Church argues that the panel opinion “runs afoul” of

Supreme Court decisions about the ministerial exception—an entirely

different doctrine. See Pet.1 (citing Hosanna-Tabor Evangelical Lutheran

Church & Sch. v. EEOC, 565 U.S. 171 (2012), and Our Lady of Guadalupe

Sch. v. Morrissey-Berru, 140 S.Ct. 2049 (2020)).

   The ministerial exception is rooted generally in the “principle of church

autonomy.” Morrissey-Berru, 140 S.Ct. at 2061. But it means only that a

church’s choice of ministerial employees—who necessarily “shape its own

faith and mission”—is an inherently ecclesiastical decision. See Hosanna-

Tabor, 565 U.S. at 188. The Church does not point to a single case that

likewise treats fraud as categorically ecclesiastical. That’s because there are

none.

II. The panel did not decide questions of exceptional importance.

   The panel’s decision was not just consistent with legal precedent, it was

also a narrow decision for which “the practical implications are limited.”

United States v. Cooley, 947 F.3d 1215, 1216 (9th Cir. 2020) (Berzon &

Hurwitz, JJ., concurring in denial of rehearing en banc). The Church

attempts to catastrophize the panel’s holding. But it is the Church’s

arguments, not Huntsman’s, that would dramatically change the law.

   1. The Church contends that the decision will open the floodgates to

“copycat suits by other former believers” who want to challenge church

(9th Cir. 1981) (First Amendment did not bar judicial inquiry into church-
run Ponzi scheme).

                                         15
      Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 20 of 25




expenditures. Pet.17. And the Church’s amici argue that the decision will

allow disgruntled donors to bring fraud suits based on “merely imprecise

language” and to invoke fraud as a means of converting unrestricted gifts to

restricted gifts. Ayuda Br.14; Ass’n of Cath. Colls. Br.14. But Huntsman has

never argued that he deserves his funds back because he did not like how

the Church spent them or because the Church’s repeated assurances about

its use of tithing funds were “merely imprecise.” The decision would not

allow congregants to impose after-the-fact conditions on donations. Instead,

the decision simply allows a church to be held accountable for spending

donated funds in the exact way that the church explicitly and repeatedly led

listeners to believe the funds would not be used.

   The Church continues its doomsaying by arguing that Huntsman’s suit

will “have a palpable chilling effect on the Church’s religious expression.”

Pet.17. But nothing in the panel decision requires Church leaders to “refrain

from discussing how Church funds will be used” or to speak with “an

accountant’s precision.” Pet.10, 18. The decision—which, again, merely

denied summary judgment against Huntsman—holds only that Church

leaders cannot fraudulently misrepresent how Church funds will be used.

Op.11. That keeps with the well-established principle that “the cloak of

religion” does not give religious organizations a free pass to “commit frauds

upon the public.” Op.11 (quoting Gen. Council on Fin. & Admin. of the

United Methodist Church v. Superior Ct., 439 U.S. 1355, 1373 (1978)).




                                       16
      Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 21 of 25




   2. At bottom, the Church’s argument is that a religious organization

cannot be held liable for fraud whenever it uses religious language in

perpetrating that fraud.

   The Church’s own hypothetical proves the point. The Church insists

without any explanation that a church could be sued for fraud if it raised

money for hurricane relief but used the funds for a pleasure trip instead.

Pet.15. Yet under the Church’s theory, the hypothetical church could argue

that “pleasure” and “relief” have religious meanings that the church gets to

define and that necessarily accord with the meanings understood by church

members. That conclusion would be demanded no matter what evidence

showed about how the terms were actually used or understood. So any legal

challenge involving those terms would fail out of the blocks. The same is

true for the Church’s reliance argument—any fraud suit would be forbidden

once the church argued that church members had a religious obligation to

donate regardless of the church’s use of funds for personal trips instead of

hurricane relief.

   Consider, for example, Jim Bakker, a televangelist with a long rap sheet

of defrauding church members. On one occasion, Bakker raised money for a

nonprofit ministry through promises of “good works” but instead funneled

that money to a for-profit religious theme park.4 Under the Church’s

reasoning, there could be no misrepresentation as a matter of constitutional


   4 See PTL Fund Raising a Tangled Saga, Wash. Post (May 23, 1987),

https://tinyurl.com/bdzk3paa

                                       17
       Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 22 of 25




law if Bakker argued that his religious beliefs were that the theme park was

a part of his “good works”—no matter how Bakker communicated to donors.

Further, the First Amendment would prohibit anyone who donated to

Bakker under false pretenses from showing reliance. According to the

Church, the potential that a misled donor also believed in a religious duty

to donate would categorically preclude showing reliance on Bakker’s

misstatements. The Church cannot justify such a dramatic change in the

law.

                                CONCLUSION

   The panel decision does not stop the Church from defining religious

terms or deciding how to spend its funds. The panel merely held that

Huntsman survived summary judgment because a reasonable jury could

conclude that the Church deliberately misled him into donating money to

for-profit ventures that he would not have otherwise funded.

   The Court should deny rehearing and rehearing en banc.




                                        18
     Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 23 of 25




                                           Respectfully submitted,
                                           s/ Bradley Girard

 DAVID B. JONELIS                          BRADLEY GIRARD
 Lavely & Singer, P.C.                     JENNY SAMUELS
 2049 Century Park East,                   Americans United for Separation
  Ste. 2400                                 of Church and State
 Los Angeles, CA 90067                     1310 L St. NW, Ste. 200
 (310) 556-3501                            Washington, DC 20005
 djonelis@lavelysinger.com                 (202) 466-3234
                                           girard@au.org



                           Counsel for Appellant

November 13, 2023




                                      19
      Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 24 of 25




                       CERTIFICATE OF SERVICE

   I certify that on November 13, 2023, this brief was electronically filed

with the Clerk of the United States Court of Appeals for the Ninth Circuit

using the appellate CM/ECF system. Participants in the case who are

registered CM/ECF users will be served by the appellate CM/ECF system.


                                       s/ Bradley Girard


November 13, 2023
       Case: 21-56056, 11/13/2023, ID: 12823406, DktEntry: 94, Page 25 of 25




                     CERTIFICATE OF COMPLIANCE

   Under Circuit Rule 40-1(a), I certify that this response to the Church’s

petition for rehearing:

   (1) Was prepared in a format, typeface, and type style that complies with

Fed. R. App. P. 32(a)(4)-(6), and

   (2) satisfies the type-volume limitations of Circuit R. 40-1(a) because it

contains 4,170 words, excluding the parts of the brief exempted by Fed. R.

App. P. 32(f).


                                        s/ Bradley Girard


   November 13, 2023
